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FILED

NOV -5 2024

UNITED STATES DISTRICT COURT FOR THE RORY PERRY, CLERK
SOUTHERN DISTRICT OF WEST VIRGINIA Sapenn Disnis St West Vag
CHARLESTON

UNITED STATES OF AMERICA

v. CRIMINAL No. 2:24 “Cr -col79

DEANNA L. DRUMM

INFORMATION
The United States Attorney Charges:

Beginning in or around February 2022 and continuing until at
least August 2024, at or near South Charleston, Kanawha County,
West Virginia, within the Southern District of West Virginia,
defendant DEANNA L. DRUMM did aid and abet the willful use of any
means and instruments of transportation and communication in
interstate commerce to offer to sell, through the use and medium
of any prospectus or otherwise, securities for which no
registration statement was in effect and for which no exemption
from registration was available, to wit, direct investments in
real estate projects located on Bigley Avenue, Charleston, Kanawha
County, West Virginia and promissory notes associated with Bear

Lute.
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All in violation of Title 15, United States Code, Sections

7T7(e)(c) and 77x and Title 18, United States Code, Section 2.

UNITED STATES OF AMERICA

WILLIAM S. THOMPSON
United States Attorney

x. Ml Woon

HOLLY Y% WILSON
Assistant United States Attorney

